     Case 8:25-bk-10013-SC         Doc 3 Filed 01/03/25 Entered 01/03/25 14:35:53                Desc
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                                                                       FILED & ENTERED
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                                                                         CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
6                                                                        BY jle        DEPUTY CLERK


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                              UNITED STATES BANKRUPTCY COURT
9
                               CENTRAL DISTRICT OF CALIFORNIA
10
                                       SANTA ANA DIVISION
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13   In re:                                          Case No.: 8:25-bk-10013-SC
14   Coast Highway Ranfared Trust,                   CHAPTER 7
15                                                   ORDER DIRECTING PETITIONING
                                                     CREDITOR TO APPEAR AND SHOW
16
                                                     CAUSE WHY THE CASE SHOULD NOT BE
17                                                   DISMISSED

18                                     Debtor(s).
                                                     Date:     January 16, 2025
                                                     Time:     1:30 p.m.
19                                                   Courtroom: 5C
20
21            An involuntary petition was filed against Coast highway Ranfared Trust (the

22   “Alleged Debtor”) on January 3, 2025. The involuntary petition indicates that the Alleged

23   Debtor is a “trust.” Generally, a non-business trust is not eligible to be a debtor in

24   bankruptcy. See, e.g., Hunt v. TRC Props., Inc., (In re Hunt), 160 B.R. 131, 135 (9th Cir.

25   BAP 1993).

26            Accordingly, the Court finds good cause to require the petitioning creditor, Greg

27   Tonkinson (“Petitioning Creditor”), to appear on January 16, 2025, at 1:30 p.m. and

28   show cause why the involuntary petition should not be dismissed as the Alleged Debtor




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1    does not appear to be eligible to be a debtor. A response to this order demonstrating
2    why the Alleged Debtor is eligible to be a debtor in a chapter 7 proceeding and
3    supported by admissible evidence must be filed by no later than January 13, 2025.
4          If a response is not timely filed, or a response is filed, but the Petitioning
5    Creditor does not appear at the hearing, the involuntary petition will be dismissed
6    without further notice or hearing.
7          IT IS SO ORDERED.
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25        Date: January 3, 2025

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3                       NOTICE OF ENTERED ORDER AND SERVICE LIST
4             Notice is given by the court that a judgment or order entitled (specify) ORDER
5    DIRECTING PETITIONING CREDITION TO APPEAR AND SHOW CAUSE WHY THE
6    CASE SHOULD NOT BE DISMISSED was entered on the date indicated as “Entered”
7    on the first page of this judgment or order and will be served in the manner indicated
8    below:
9    SERVED BY THE COURT
10   A copy of this notice and a true copy of this judgment or order was sent by U.S. Mail to
11   the following person(s) and/or entity(ies) at the address(es) indicated below:
12
13   Petitioning Creditor
     Greg Tonkinson
14   31423 Coast Hwy #22
     Laguna Beach, CA 92651
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